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                          UNITED STATES DISTRICT COURT
                                     FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

                                                  CASE NO.
ABIRA MEDICAL LABORATORIES,
LLC d/b/a GENESIS DIAGNOSTICS,


Plaintiff                                         VERIFIED COMPLAINT

vs.

BLUE CROSS BLUE SHIELD Of
ARIZONA, INC., ABC COMPANIES
1-100, AND JOHN DOES 1-100


Defendants


                                  I. INTRODUCTION

        1.      This is an action seeking to collect, inter alia, for

medical laboratory services rendered in the amount of, or in excess

of $1,542,028.00, exclusive of interest and costs. The Plaintiff,

Abira        Medical    Laboratories,     LLC   d/b/a    Genesis    Diagnostics

(hereafter, “GENESIS” or “Plaintiff”), performed laboratory test

services, including but not limited to COVID-19 tests, for the

Defendants, their agents, servants, employees, insureds, or others


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through whom they acted, or others on whose behalf they acted.

GENESIS performed medical laboratory testing for tests ordered by

physician members of insurance companies, ordered by a non-member

physician, or an insured/patient member of an insurance company.

        2.      The Defendant, Blue Cross Blue Shield of Arizona, Inc.

(hereafter, “BCBS”), their agents, servants, employees, insureds,

or others with or through whom they acted, or others on whose

behalf they acted, including but not limited to their affiliates,

the ABC companies 1-100, and John Does 1-100 (collectively with

BCBS    referred      to   as   “Defendants”),       ordered   and/or   authorized

laboratory services including but not limited to COVID-19 tests to

be performed by GENESIS.

        3.      Plaintiff,      an    authorized      representative      of   the

insured/claimants pursuant to 29 C.F.R. § 2650.503-1(b)(4), has

the right to file appeals and take any necessary legal action to

secure for the claimants the benefits already paid for under their

insurance contract.

        4.      There is little dispute that services were rendered.

There is a dispute by Defendants as to whether a few of the tests

were already paid for, and the amount of the remaining balance.

There is a dispute wherein Defendants sought additional records,

which    were      supplied,    but    which   did    not   result   in   payment.

Effectively, this was an appeal process culminating in the improper




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denial of payment for laboratory services rendered, and exhausting

the available administrative remedy.

     5.      An October 10, 2021 demand letter to BCBS from attorney

David Ghisalbert, Esq, (see copy attached hereto as “EXHIBIT A”)

clearly made demand for all unpaid claims. BCBS has refused to

make payment for services rendered.

                                   II.    PARTIES

     6.      Abira       Medical     Laboratories,        LLC     d/b/a     Genesis

Diagnostics     is   a   domestic limited         liability     company   organized

under the laws of the State of New Jersey. Several of GENESIS’

administrators and decision-makers live in New Jersey, work in New

Jersey, and run GENESIS’ affairs from New Jersey.

     7.      At all times relevant hereto, the principal medical

testing laboratory was located at 900 Town Center Drive, Suite

H50, Langhorne, Pennsylvania 19047.

     8.      Defendant, Blue Cross Blue Shield of Arizona, Inc.,

incorporated in the State of Arizona and an independent licensee

of Blue Cross Blue Shield, provides health insurance services

throughout the State of Arizona and the United States, and has its

principal place of business located at 2444 W. Las Palmaritas

Drive, Phoenix, AZ 85021.

     9.      GENESIS is unaware of the true names and capacities of

Defendants      named     herein     as     ABC     Companies    1   through   100




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and JOHN DOES 1        through     100,    inclusive,       and    therefore    asserts

claims against these Defendants by such fictitious names.

      10.   GENESIS will amend this Complaint to show the true names

and capacities of such ABC Companies and JOHN DOES when the same

have been ascertained.

      11.   GENESIS, on information and belief, alleges that each of

the   fictitious       named   Defendants,         jointly     and     severally,   are

responsible in some manner for the actions and occurrences herein

alleged, and that GENESIS’ damages were approximately caused by

their acts.

      12.   On further information and belief, GENESIS alleges that

at    all        times      herein        mentioned,        the      ABC     Companies

and JOHN DOE Defendants            acted    in    concert      with,     through,   and

were/was    the     agent,     employee,         contractor,      partner,     servant,

employee and/or representative, with the permission and consent of

the other Defendants.

                             III. JURISDICTION AND VENUE

      13.   Jurisdiction is proper in this court pursuant to 28

U.S.C. § 1332, due to the complete diversity of the parties, the

existence   of     a     justiciable       dispute   between       the   parties,   the

issue(s) involving federal statutes, a dollar amount in excess of

that required for federal jurisdiction, and the fact that the

services    at    issue     were     rendered      within    the     Commonwealth    of

Pennsylvania.


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       14.    There were continuing and substantial contacts with the

medical laboratory testing operations in Pennsylvania, between

GENESIS and Defendants.

       15.    Defendants processed and paid several claims that were

submitted     by   GENESIS,   which    taken   with    the   other   factors    is

sufficient to establish sufficient continuing and minimum contacts

in Pennsylvania, for jurisdictional purposes.

       16.    Moreover, the Employee Retirement Income Security Act of

1974    (“ERISA”)    is   unique      in   having     relaxed   jurisdictional

requirements, as it was designed to remove jurisdictional and

procedural obstacles that would hinder effective enforcement                    1;


this is reflected directly in the code:

         i. 29 U.S.C. § 1132(e)(2) – “Where an action under
            this subchapter is brought in a district court of
            the United States, it may be brought in the
            district where the plan is administered, where
            the breach took place…”,


             and

        ii. 29 U.S.C. § 1132(f) “the district courts of the
            United States shall have jurisdiction, without
            respect to the amount in controversy or the
            citizenship of the parties, to grant the relief
            provided for in subsection (a) of this section in
            any action.”

              [emphasis supplied]




1 Senate Report No. 127, 93rd Congress, 1st Session (1973), in 1974 U.S. Code
Cong. & Ad. News 4871.
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      17.   Pursuant      to   29    U.S.C. § 1132(e),       State   courts     have

concurrent jurisdiction over this action.

                                IV.    FACTS

[A] GENESIS Operated A Medical Testing Laboratory And Rendered
Services to the Defendants’ Insurance Companies’
Insureds/Claimants

      18.   GENESIS operated a licensed medical testing laboratory

business, which provided services nationwide, with approximately

150   employees,      including        but    not      necessarily    limited    to

physicians,      scientists,    technicians,        administrative      personnel,

and sales representatives.

      19.   As    part    of   its    business      model,    GENESIS    performed

clinical laboratory, toxicology, pharmacy, genetics, and addiction

rehabilitation      testing     services       on   specimens      submitted    for

numerous insureds/claimants located throughout the United States

(the “Laboratory Testing Services”).

      20.   At the advent of the COVID-19 pandemic, in addition to

its   pre-existing       schedule     of    specimen    tests,    GENESIS    offered

COVID-19 testing, as part of its contribution to combatting the

COVID-19 pandemic.

      21.   GENESIS obtained regulatory approvals and emergency use

authorizations from numerous states to provide COVID testing and

reporting on a timely basis, with monthly reauthorizations and

renewals,   which    required        test    results    to   be   reported   within

specified time constraints, in order to grant reauthorization.


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     22.     Additionally, GENESIS held a regional designation to

perform first responder testing for police, firefighters, and

healthcare workers, and provided testing for prison systems in

multiple counties, including in Pennsylvania.

     23.     Physicians and patients relied upon GENESIS to rapidly

provide the results from Laboratory Testing Services in order to

inform medical decisions on patient care and public safety.

     24.     Additionally, various businesses, such as nursing homes,

sent tens of thousands of daily specimens to GENESIS, for timely

results     that    informed     whether      to   isolate     or    hospitalize

insureds/claimants, to limit infection, avoid the spread of the

COVID-19 virus, and death.

     25.     The insurance contracts between the insurance companies

and the insureds/claimants include Benefits clauses or provisions,

which require the Defendants to pay for laboratory testing of the

insureds’/claimants’ specimen.

     26.     As    the    Defendants    are   required   under      the   Benefits

clauses in the insurance contracts to pay for the laboratory

testing       of         the   insureds’/claimants’           specimen,         the

insureds/claimants         designated    GENESIS   as    an   assignee     of   the

insurance contracts, as evidenced by providing their authorization

and/or insurance information to GENESIS, specifically for GENESIS

to claim payments from the Defendants for the lab tests.




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     27.    In addition to being an authorized representative of the

claimants    pursuant    to   29 C.F.R.   §   2560.503–1(b)(4),        when    the

insureds/claimants      designated     GENESIS   as    an   assignee     of    the

insurance contracts, this did in fact put GENESIS in privity of

contract with the Defendants to be paid for the lab tests.

     28.    BCBS regularly refused to pay and/or underpaid claims

properly submitted by GENESIS – including without limitation,

claims for COVID-19 testing GENESIS performed for BCBS of enrollees

during the pandemic – or simply failed to respond in any way to

claims    properly    submitted   by    GENESIS,      all   in     violation    of

applicable state and federal law.

     29.    The Defendants were supposed to pay the claims, pursuant

to the GENESIS fee schedule or the insurer’s fee schedule, or

typically, negotiate a reasonable fee.

     30.    The dates of service for the claims underlying this

action are from 2016 through 2021.

     31.    Defendants, however, processed and actually sprinkled

payments of claims paid GENESIS for some claims that occurred in

2018 through 2021 so that:

         i. by processing/payment and the communication involved

            with     GENESIS’   claim     submission,       plus     Defendants’

            advising from time-to-time that claims submitted were

            “processed and paid,” Defendants impressed upon GENESIS

            that they would continue to honor the claims;


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         ii. whereas Defendants representatives knew that they merely

              induced GENESIS to continue to provide specimen testing

              to their insureds/claimants, from whom they collected

              premium    payments      for     the    insurance      contracts,       but

              Defendants intended to watch GENESIS’ claims increase,

              knowing that they would later refuse to pay GENESIS for

              a substantial amount of outstanding claims;

        iii. the    Defendants       engaged   in    the   processing/payment          of

              GENESIS’       claim    and    the     intermittent      communication

              representing to GENESIS that they would continue to pay

              subsequent claims, with the intention that GENESIS would

              rely on such, to continue providing testing services to

              Defendants' insureds/claimants,

         iv. Even       as     the      claims        grew,     due       to        prior

              processing/payment, and communication from Defendants'

              representatives,         GENESIS reasonably           relied     on     the

              Defendants to pay subsequent claims;

          v. Defendants        then    allowed       GENESIS’     claims       to    grow

              substantially and caused financial damage to GENESIS, by

              refusing to pay GENESIS for the substantial outstanding

              claims.

[B] GENESIS Is An Authorized Representative of the
Insureds/Claimants
        32.   Defendants, being health insurance companies, third-

party    administrators,        health and welfare         funds,    or   even      self-

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insured employers, providing health insurance services to their

members, intentionally and unlawfully denied benefits to their

insureds/claimants        (and    their     assignees),      by   failing     to   pay

GENESIS, for laboratory testing of specimen, including but not

limited    to     COVID-19    tests,      which    GENESIS   performed       for   the

insureds/claimants.

     33.     Defendants have contractual obligations to the natural

person insureds/claimants.

     34.     To    the   extent     that    the    contracts      relevant    to   the

underlying claims are governed by ERISA, this action is brought

to: (1) recover benefits pursuant to 29 U.S.C. § 1132(a)(1)(B),

and (2) for equitable relief, pursuant to 29 U.S.C. § 1132(a)(3).

     35.     Pursuant to 29 C.F.R. § 2560.503–1(b)(4), GENESIS is an

“authorized        representative”          acting     on      behalf        of    the

insureds/claimants for any necessary legal action, to secure for

the insureds/claimants, the benefits that they already paid for

under the contracts with the Defendants.

     36.     For the purpose of their claims, the insureds/claimants

designated      GENESIS      as   their    assignee,    as     evidenced      by   the

insureds/claimants        providing        their    insurance      information      to

GENESIS,   for     the    purpose    of    GENESIS    filing      claims   with    the

Defendants for payment of lab tests, which the insurance contracts

require Defendants to cover.




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       37.    As anyone who has had a medical laboratory test performed

knows, or should know, it is the usual and customary business

practice of medical testing laboratories to obtain an insured’s

signature (a) to authorize the laboratory test to be performed

(i.e. blood draw, etc.), and (b) to authorize the medical testing

laboratory to charge the insured’s insurance company and collect

from the insured’s insurance company for the laboratory test (or

other service) performed; assigning the right of collection to the

laboratory. This was the usual business practice of GENESIS.

       38.    GENESIS     exhausted     the   administrative      remedies     over

nonpayment of these claims, by filing appeals when the claims were

denied,      thus   preserving   this    action   with   regard    to   over    one

thousand and one hundred (1,100) claims underlying this action,

and any applicable statute of limitations.

       39.    GENESIS seeks benefits under 29 U.S.C. § 1132(a)(1)(B),

and equitable relief 29 U.S.C. § 1132(a)(3), in the amount of

$1,542,028.00, exclusive of costs and interest.

       40.    GENESIS is also entitled to attorney fees and costs of

suit   pursuant      to   29 U.S.C. § 1132(g)(1),        and   other    legal   or

equitable relief as this court deems appropriate, pursuant to

29 U.S.C. § 1132(g)(2)(E).

       41.    Where Defendants are an insurer, it failed to pay GENESIS

directly for claims GENESIS submitted for its services rendered by

laboratory testing of the insureds’/claimants’ specimens.


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     42.    Where Defendants are a third-party administrator, it

acted as an agent of the insurer, furnished by the insurer with

the necessary funds to perform the administrative service of

processing and paying claims on the insurer’s behalf, but for

avarice, the third-party administrator failed to process and pay

said claims.

     43.    Defendants were supposed to verify and honor the claims

submitted by the laboratory, but instead, they:

             i.   entered     into        insurance      contracts       with    the

                  insureds/claimants, by which they communicated to

                  the insureds/claimants, that pursuant to Benefits

                  clauses     or     provisions       of     contract,     if    the

                  insureds/claimants         got   tested    and    gave   the   lab

                  their insurance information, the insurer would pay

                  the lab when it submits its claims to the insurer

                  for laboratory testing it performed;

            ii.   Defendants       knew    that    the     representations       and

                  promises made to the insureds/claimants via the

                  insurance    contracts      were    misrepresentations         and

                  false promises, with regard to paying for their

                  laboratory testing, and knew that such would not be

                  honored;

           iii.   Defendants intended for the insureds/claimants to

                  rely   on        the     promises        and     representations


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                  communicated     to   the   insureds/claimants          via   the

                  insurance contracts, that the insurer would pay the

                  lab when it submits its invoice or claims to the

                  insurer for laboratory testing it performed;

            iv.   The    insureds’/claimants’           reliance          on    the

                  Defendants' promises were reasonable, because they

                  made   the    premium     payments    to   the    Defendants,

                  submitted their specimen to GENESIS for testing,

                  and          designated        GENESIS             as          an

                  assignee/authorized representative                 of         the

                  insurance contracts         pursuant       to      29 C.F.R. §

                  2560.503–1(b)(4), to process payment for the lab

                  testing, as evidenced by providing their insurance

                  information to GENESIS;

             v.   Ultimately,       the       Defendants          damaged       the

                  insureds/claimants by refusing to pay GENESIS, for

                  the    laboratory       testing      performed       for      the

                  insureds/claimants, and also damaged GENESIS, who

                  came into privity of contract with the Defendants

                  as an assignee of the insured.

[C]   Claims Arising From COVID-19
      44.   With regard to those claims arising from the COVID-19

pandemic, Congress took extraordinary steps to require health




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plans and health insurance issuers like Defendants to cover and

pay for coronavirus testing.

     45.   Congress prohibited health plans and health insurance

issuers from imposing any prior authorization or other medical

management requirements on testing for the diagnosis of COVID-19.

[See Families First Coronavirus Response Act (“FFCRA”) § 6001(a)].

     46.   Congress required that group health plans and health

insurance issuers like Defendants must cover and reimburse COVID-

19 testing and related services, which were laid out not just in

the text of the FFCRA and Coronavirus Aid, Relief, and Economic

Security Act (“CARES Act”), but also in a series of “Frequently

Asked Questions” (“FAQs”) documents issued and publicly posted by

the U.S. Department of Health and Human Services (“HHS”).

     47.   Pursuant to Section 6001 of the FFCRA, as amended by

Section 3201 of the CARES Act, Defendants must provide benefits

for certain COVID-19-related items and services, including COVID-

19 testing, furnished starting from March 18, 2020.

     48.   Specifically, Defendants “must provide this coverage

without    imposing   any   cost-sharing     requirements     (including

deductibles, copayments, and coinsurance), prior authorization, or

other medical management requirements.” See FFCRA, § 6001(a); FAQs

About FFCRA, Part 44, pg. 1-2, February 26, 2021.

     49.   Moreover, the FAQs clarify that plans and issuers are

prohibited from imposing specific screening criteria on coverage


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of COVID-19 diagnostic testing for an asymptomatic person who has

no known or suspected exposure to COVID-19. Id. at pg. 2, Q1.

     50.       Thus, “[w]hen an individual seeks and receives a COVID-

19 diagnostic test from a licensed or authorized health care

provider, or when a licensed or authorized health care provider

refers an individual for a COVID-19 diagnostic test, plans and

issuers generally must assume that the receipt of the test reflects

an ‘individualized clinical assessment’ and the test should be

covered without cost sharing, prior authorization, other medical

management requirements.” Id. at pg. 2-3.

     51.       Federal guidance under the FFCRA and CARES Act makes it

clear that Defendants’ obligation extends to a wide array of

coverage and testing types; the FFCRA/CARES Act payment rules apply

to “group health plans and health insurance issuers offering group

or individual health insurance coverage (including grandfathered

health    plans),”    which   specifically   includes   “both insured    and

self-insured group health plans,” including “private employment-

based group health plans (ERISA plans), non-federal governmental

plans...and church plans.” See FAQs, Part 42, Q1, pg. 2-3, April

11, 2020.

     52.       Defendants' reimbursement obligations also apply to all

manner    of    COVID-19   diagnostic   testing,   including    serological

(otherwise known as “antibody”) testing, and tests administered at




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home through self-collection. See FAQs, Part 42, Q1, pg. 2-3, April

11, 2020; FAQs, Part 43, Q4, pg. 6, June 23, 2020.

      53.   Regulators have even warned that plans and issuers shall

not attempt to “limit or eliminate other benefits . . . to offset

the costs of increasing the generosity of benefits related to the

diagnosis and/or treatment of COVID-19.” See FAQs, Part 42, Q9,

pg. 7-9, April 11, 2020.

      54.   There can be no debate that FFCRA and CARES Act require

Defendants to pay for the COVID-19 testing services which GENESIS

provided.

      55.   GENESIS had every reasonable expectation that Defendants

would honor their obligations and properly reimburse GENESIS for

the   COVID-19   testing     services     it    provided    to   Defendants'

insureds/claimants.

      56.   Defendants,    however,    failed   to   pay   GENESIS   for   its

services, including but not limited to COVID-19 diagnostic testing

that GENESIS provided to Defendants' insureds/claimants, to the

detriment of GENESIS.

                               v.     LEGAL CLAIMS

                                COUNT ONE
                           BREACH OF CONTRACT

      57.   GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 56, as if

expressly rewritten herein.



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        58.   The Benefits clause in the valid and binding insurance

contracts and insurance plans which the insureds/claimants paid

for, require the Defendants to pay for the laboratory testing of

the insureds’/claimants’ specimen.

        59.   The insureds/claimants assigned to GENESIS, the right to

collect from the insurance company, file insurance claims for the

lab testing, as evidenced by insureds/claimants providing GENESIS

the necessary insurance information for GENESIS to file the claims

and collect the payments on behalf of the insureds.

        60.   GENESIS is in privity with Defendants, so that GENESIS

is entitled to prompt processing and payment of the claims for

lab testing services rendered to Defendants' insureds/claimants.

        61.   Defendants, however, repeatedly breached the insurance

contracts by either failing to respond at all to properly submitted

claims or, for those claims in which Defendants did choose to

respond, regularly refusing to pay claims submitted by GENESIS,

for intentional dilatory reasons that were (and remain) entirely

groundless.

        62.   Due to Defendants’ acts and/or omissions,             including

their     multiple    breaches    of   the   insurance    contracts      and/or

statutory requirements, the insureds/claimants have been deprived

of   payments        for   lab   testing     GENESIS     provided     to   the

insureds/claimants.




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     63.    Due to Defendants' multiple breaches of the insurance

contracts, GENESIS has been deprived of payment for the insurance

claims, which the insureds/claimants assigned GENESIS to collect

on their behalf.

     64.    Defendants made no payments on the balance due and owing,

which totals $1,542,028.00, for services rendered by GENESIS to

Defendants' insureds/claimants, exclusive of interest and costs.

     65.    Defendants’ failure to pay GENESIS as required under the

insurance      contracts      (and applicable law)        caused      the

insured/claimants and GENESIS to suffer damages, in the amount in

excess of $1,542,028.00, exclusive of costs and interest.

                            COUNT TWO
    BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

     66.    GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 65, as if

expressly rewritten herein.

     67.    Implied in all contracts is the covenant of good faith

and fair dealing.

     68.    Defendants' acts and/or omissions, including but not

limited to, failure and/or refusal to respond at all to properly

submitted claims, or for those claims in which Defendants did

choose to respond, regularly refusing to pay claims submitted by

GENESIS for intentional dilatory reasons that were (and remain)

entirely groundless, breached the implied covenants.



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     69.    Consequently, Defendants caused the insured/claimants

and GENESIS to suffer damages, for which Defendants are liable, in

the amount in excess of $1,542,028.00, exclusive of costs and

interest.

                             COUNT THREE
                    FRAUDULENT MISREPRESENTATION

     70.    GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 69, as if

expressly rewritten herein.

     71.    Defendants   promised     the    insureds/claimants   in   the

Benefits clause of the insurance contracts, that they would cover

for the insureds/claimants, the cost of lab tests for specimen.

     72.    Defendants knew, by their acts and/or omissions, that

they merely intended for the insureds/claimants to rely on their

representations in the insurance contracts, and subsequently for

GENESIS, to rely on their representations, knowing that Defendants

would later refuse to pay a substantial amount of claims that would

grow over time.

     73.    The insureds/claimants, and subsequently GENESIS, relied

on Defendants' representations, in good faith, and such reliance

was reasonable and justified.

     74.    Defendants   have    therefore    fraudulently   induced   the

insureds/claimants to pay insurance premiums, and induced GENESIS

to continue to perform laboratory testing services for Defendants'



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insureds/claimants, for which Defendants had no intention to pay,

and for which Defendants, in fact, did not pay GENESIS.

     75.    Consequently, Defendants caused the insured/claimants

and GENESIS to suffer damages, for which Defendants are liable, in

the amount in excess of $1,542,028.00, exclusive of costs and

interest.

                              COUNT FOUR
                     NEGLIGENT MISREPRESENTATION

     76.    GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 75, as if

expressly rewritten herein.

     77.    Defendants     promised      the        insureds/claimants   in    the

Benefits clause of the insurance contracts, that they would cover

for the insureds/claimants, the cost of lab tests for specimen.

     78.    Defendants    knew    that    they       merely   intended   for   the

insureds/claimants    to    rely    on    their        representations   in    the

insurance contracts, and subsequently for GENESIS, to rely on their

representations, knowing that Defendants would later refuse to pay

a substantial amount of claims that would grow over time.

     79.    The insureds/claimants, and subsequently GENESIS, relied

on Defendants' representations and/or promises, in good faith, and

such reliance was reasonable and justified.

     80.    Defendant's    negligent     misrepresentations        fraudulently

induced the insureds/claimants to pay insurance premiums, and

Defendants'     induced      GENESIS           to      continue    to    perform
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laboratory testing services        for   Defendants'     insureds/claimants,

for which    Defendants    had   no    intention    to   pay,   and   for    which

Defendants, in fact, did not pay GENESIS.

     81.     Consequently, Defendants caused the insured/claimants

and GENESIS to suffer damages, for which Defendants are liable, in

the amount in excess of $1,542,028.00, exclusive of costs and

interest.

                                 COUNT FIVE
                            PROMISSORY ESTOPPEL

     82.     GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 81, as if

expressly rewritten herein.

     83.     Defendants    promised      the   insureds/claimants       in     the

Benefits clause of the insurance contracts, that they would cover

for the insureds/claimants, the cost of lab tests for specimen.

     84.     Defendants knew that by their acts and/or omissions,

their payments and communication, they merely intended for the

insureds/claimants, and for GENESIS to rely on their promises,

knowing that they would later refuse to pay a substantial amount

of claims that would grow over time.

     85.     The insureds/claimants and GENESIS relied on Defendants,

especially    because     Defendants     actually   sprinkled     payments      to

GENESIS, and Defendants' representatives communicated with GENESIS

in good faith, and such reliance was reasonable and justified,

with regard to ongoing and outstanding claims.
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     86.    Defendants,   in    fact,    did   not    pay    GENESIS    for   the

continued testing, and the substantial amount of claims GENESIS

later submitted to them.

     87.    Defendants    are   or   should     be    estopped   from    acting

contrary to their representations and statutory obligations.

     88.    Consequently, Defendants caused the insured/claimants

and GENESIS to suffer damages, for which Defendants are liable, in

the amount in excess of $1,542,028.00, exclusive of costs and

interest.

                                COUNT SIX
                           EQUITABLE ESTOPPEL

     89.    GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 88, as if

expressly rewritten herein.

     90.    Defendants    promised      the    insureds/claimants       in    the

Benefits clause of the insurance contracts, that they would cover

for the insureds/claimants, the cost of lab tests for specimen.

     91.    Defendants knew, by their acts and/or omissions, by

their payments and communication, they merely intended for the

insureds/claimants, and for GENESIS to rely on their promises,

knowing that they would later refuse to pay a substantial amount

of claims that would grow over time.

     92.    The   insureds/claimants     did    not   know    that   Defendants

intended only for them to believe Defendants would pay for the



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laboratory testing, without actually intending to pay for the lab

tests.

     93.     GENESIS did not know that Defendants intended only for

it to believe they would pay for the laboratory testing, without

actually    intending    to   pay   GENESIS   for   subsequent     lab   tests,

especially because Defendants paid GENESIS at one point.

     94.     The insureds/claimants and GENESIS relied on Defendants,

especially     because   Defendants    actually     sprinkled     payments   to

GENESIS, and Defendants' representatives communicated with GENESIS

in good faith, and such reliance was reasonable and justified,

with regard to ongoing and outstanding claims.

     95.     Defendants are or should be equitably estopped from

acting     contrary      to   their    representations      and     statutory

obligations.

     96.     Defendants did not pay for the continued testing, and

the substantial amount of claims GENESIS later submitted to them.

     97.     Consequently, Defendants caused the insureds/claimants

and GENESIS to suffer damages, for which Defendants are liable, in

the amount in excess of $1,542,028.00, exclusive of costs and

interest.

                               COUNT SEVEN
                   QUANTUM MERUIT / UNJUST ENRICHMENT

     98.     GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 97, as if

expressly rewritten herein.
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      99.    In accordance with the insurance contracts between the

Defendants     and    the   insureds/claimants,       Defendants     collected

insurance    premium    payments,   in    exchange    for    which   they    were

supposed to use a portion of the premium payments they pooled to

pay   for   the    laboratory   testing    services    promised      under    the

contracts.

      100. It is against equity and good conscience to permit

Defendants to retain the money it intentionally and wrongfully

failed to pay for lab tests, on behalf of the insureds/claimants.

      101. Defendants have been unjustly enriched in the amount of

not less than $1,542,028.00, plus interest, which pursuant to which

pursuant to 29 C.F.R. § 2560.503-1(b)(4), the insureds/claimants

authorized GENESIS to collect on their behalf.

                                COUNT EIGHT
                   VIOLATION OF THE FFCRA AND CARES ACT

      102. GENESIS realleges and incorporates herein by reference,

each of the foregoing allegations, paragraphs 1 through 101, as if

expressly rewritten herein.

      103. Defendant's offer group health plans and constitute a

health    insurance    issuer   offering    group     or    individual   health

insurance coverage, as those terms are defined under Section 6001

of the FFCRA.

      104. The COVID-19 testing services that GENESIS provided to

Defendants'       insureds/claimants     constitute    in    vitro   diagnostic

products for the detection of COVID-19 or the diagnosis of the
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virus that causes COVID–19, as provided by Section 6001 of the

FFCRA.

       105. Despite numerous and persistent demands and requests,

Defendants have improperly and unlawfully failed and refused to

pay, and/or have underpaid, GENESIS for providing COVID-19 testing

services.

       106. By failing and refusing its payment obligations under

the    FFCRA   and    CARES     Act,    Defendants     deprived    GENESIS   of

compensation, and caused GENESIS to suffer damages, for which

Defendants are liable, in the amount in excess of $1,542,028.00,

exclusive of costs and interest.

                                VI.    RELIEF SOUGHT

       WHEREFORE, Plaintiff, Abira Laboratories, LLC d/b/a Genesis

Diagnostics prays for judgment against Defendant, Blue Cross Blue

Shield of Arizona, the ABC companies 1-100, and John Does 1-100,

jointly and/or severally, as follows:

       i. Damages in the amount in excess of $1,542,028.00 for (a)

           benefits due to the insureds/claimants, cumulatively,

           pursuant to 29 U.S.C. § 1132(a)(1)(B) and/or (b) equitable

           relief    due   to   the    insureds/claimants,        cumulatively,

           pursuant to 29 U.S.C. § 1132(a)(3);

      ii. Compensatory damages, contractual damages, consequential

           damages and punitive damages;

      iii. Award of prejudgment and post-judgment interest;


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    iv. Attorney’s fees and costs of suit; and

     v. For such other relief deemed just and equitable.



                              JURY DEMAND

     Pursuant to Federal Rule of Civil Procedure 38, Plaintiff

hereby demands trial by jury of all applicable issues in this

action.

                                 Respectfully submitted,


               12 2024
Dated: January __,                s/     Afiyfa H. Ellington, Esq.
                                 Afiyfa H. Ellington, Esq.

                           Abira Medical Laboratories, LLC d/b/a
                           Genesis Diagnostics
                           957 Route 33 | Suite 12 | #322
                           Hamilton Square | New Jersey | 08690
                           Tel:(212)220-1616 |Fax: (609)798-0327
                           aellington@genesisdx.com




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                             VERIFICATION

     I, Alan Miller, being of full age and duly sworn according

to law upon my oath, depose and say:

          1.     I am the Chairman of the Board of Directors of

     Abira Medical Laboratories, LLC d/b/a Genesis Diagnostics,

     a limited liability company of the State of New Jersey.

          2.   I have read the foregoing Verified Complaint, and

     the information contained therein is true and accurate

     based upon my personal knowledge and information.

     I certify that the foregoing statements made by me are

true. I am aware that if any of the foregoing statements made by

me are willfully false, I am subject to punishment.

                                 ABRIA MEDICAL LABORATORIES, LLC
                                 D/B/A GENESIS DIAGNOSTICS


               12
Dated: January ___, 2024         _____________________________
                                      Alan Miller
                                      Chairman of the Board of
                                      Directors




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